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12
                          CENTRAL DISTRICT OF CALIFORNIA
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14
     LA ALLIANCE FOR HUMAN RIGHTS,              Case No. CV 20-02291 DOC (KES)
15   et al.,
16                                              EX PARTE APPLICATION OF
                 Plaintiffs,                    DEFENDANT CITY OF LOS
17                                              ANGELES TO STAY
     v.                                         PRELIMINARY INJUNCTION
18                                              PENDING APPEAL
19   CITY OF LOS ANGELES, et al.,
                                                [Fed. R. Civ. P. 62(c);
20               Defendants.                    Fed. R. App. P. 8(a)]
21                                              [Filed concurrently with Declarations
22                                              of Richard H. Llewellyn, Jr. and
                                                Scott Marcus]
23
24                                              Hon. David O. Carter
                                                United States District Judge
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          DEFENDANT’S EX PARTE APPLICATION FOR STAY OF PRELIMINARY INJUNCTION
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 1                                 EX PARTE APPLICATION
 2         Defendant City of Los Angeles (“City”) hereby applies ex parte for an order to stay
 3   the preliminary injunction entered by the court on April 20, 2021 (Dkt. 277) pending
 4   appeal. Fed. R. Civ. P. 62(c) and Fed. R. App. P. 8(a). Especially in light of the
 5   impending deadlines set by the court’s order to comply with the injunction—including a
 6   “forthwith” order to escrow $1 billion and an order to create thousands of housing or
 7   shelter opportunities in 90 days—the City respectfully requests that the court rule on this
 8   motion as soon as possible. The City is also filed a Notice of Appeal of the Preliminary
 9   Injunction [Dkt. 281] concurrently with this Motion, and it respectfully informs this court
10   that if a stay is not issued by Monday April 26, 2021, the City intends to seek a stay from
11   the Ninth Circuit court of Appeals.
12         Pursuant to Local Rule 7-19.1, on April 22, 2021 the City’s counsel notified
13   Plaintiffs, Defendant County of Los Angeles, and Intervenors of the City’s intention to file
14   the present ex parte application. Counsel for Plaintiffs responded that they intend to
15   oppose the application. Counsel for the County responded that they support the
16   application. Counsel for the Intervenors all responded that they do not oppose the
17   application. Declaration of Scott Marcus.
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 2         This ex parte application is based upon the attached memorandum of points and
 3   authorities and all the files and records in this case.
 4   DATED: April 23, 2021
 5
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                         By: /s/ Scott Marcus
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13                       Attorneys for Defendant CITY OF LOS ANGELES

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 1                   MEMORANDUM OF POINTS AND AUTHORITIES
 2   I.     INTRODUCTION
 3          Defendant City of Los Angeles (“City”) appreciates that the court seeks to address
 4   homelessness in ways different than the City, through its elected officials and voter-
 5   approved propositions, has chosen to, because, as all parties and the court have
 6   acknowledged, homelessness in this region is truly a crisis. But the existence of a
 7   crisis—even one as serious and complex as homelessness—does not obviate the rule of
 8   law. The preliminary injunction should immediately be stayed so that the parties can
 9   properly litigate its validity and scope – which is extraordinary. The City has yet even to
10   answer the complaint in this action and there is virtually no evidence before the court
11   which would support the sweeping rulings found in the preliminary injunction.
12   Moreover, the nature of the relief the court seeks to impose invades the duties and
13   powers of the elected officials of the City and implicates serious constitutional questions
14   of due process and separation of powers. At a minimum, additional time is needed so
15   that the parties can address all these serious questions.
16          On April 20, 2021, this court issued a 110-page mandatory preliminary injunction
17   order without a hearing and less than 24 hours after the Defendants and Intervenors filed
18   their oppositions. In the Order, the court found Plaintiffs were likely to succeed on legal
19   claims they never propounded (many of which they would not have standing for had
20   they done so) based on the court’s own compilation of citations from sources outside this
21   litigation.
22          Citing the amount the Mayor proposes to spend on homelessness in the upcoming
23   fiscal year (commencing in July) in a budget yet to be ratified by the City Council (as
24   required under the City Charter), the court ordered the City to escrow “forthwith” $1
25   billion—roughly 14% of the entire general fund City budget proposed by the Mayor for
26   next fiscal year. The court ordered a subcommittee of the City Council to identify and
27   address “structural barriers . . . that cause a disproportionate number of people of color
28   to experience homelessness” and solve for “the problem of extremely low income


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 1   individuals being foreclosed from the affordable housing market in favor of higher-
 2   income individuals”—even though the court itself acknowledged that many of those
 3   barriers and problems are beyond the City’s control, and ordered the City’s elected
 4   Controller to report on all land—not just City land, but all land—that is potentially
 5   available for use as housing or shelter for people experiencing homelessness. Dkt. 277
 6   at p. 106-107.
 7         And the court ordered the City (along with Defendant County of Los Angeles
 8   (“County”)) to provide shelter or housing to every person in the Skid Row area of
 9   downtown Los Angeles, with the first phase to be completed in the next 90 days, and the
10   final phase to be completed in 180 days.
11         The City recognizes that this court exerted great effort in the drafting of this
12   Order. Nonetheless, the City respectfully yet urgently asks this court to stay
13   enforcement of this Preliminary Injunction until it can be reviewed on appeal. The City
14   submits that if this Order remains enforceable while this appeal is pending, serious and
15   irreparable harm will result.
16         The City submits that all of the factors this court must consider (Nken v. Holder,
17   556 U.S. 418, 434 (2009)) weigh in favor of a stay:
18         (i)    Strong likelihood that the City will prevail on appeal, with serious legal
19                questions at stake
20         There is a strong likelihood the City will prevail in its appeal from the Order for
21   several reasons. First, the Order finds the City liable for constitutional violations under
22   legal theories that the Plaintiffs never raised—some of which the court admits it created
23   anew for its ruling—so the City never had an opportunity to address these issues. The
24   court found, for example, that the City likely committed historical constitutional
25   violations of the Equal Protection Clause resulting in “a persisting legacy of racially
26   disparate impacts,” yet Plaintiffs do not state an Equal Protection Clause claim based on
27   race in the Complaint, nor did they rely upon an Equal Protection theory in their Motion
28   for Preliminary Injunction. Similarly, the court admits that it created a new “severe


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 1   inaction” theory under the Equal Protection Clause, and then held the City likely
 2   violated this newly created rule. Far from being an impartial arbiter of the law, the court
 3   denied the City due process by issuing this Order without giving the City notice of and a
 4   chance to rebut these theories.
 5         Second, the Order is premised upon “facts” far outside the record, many of which
 6   the City had no chance to respond to, and which do not support the conclusions drawn
 7   by the court.
 8         In addition, the City argues that the Order should be stayed for the independent
 9   reason that it raises serious legal issues that should be reviewed by the Ninth Circuit
10   before any injunction may be imposed. The Order runs afoul of the role of federal
11   courts, which is to be “passive instruments of government” that do not “look[] for
12   wrongs to right” but instead “wait[s] for cases to come to [them], and when [cases arise,
13   courts] normally decide only questions presented by the parties.” United States v.
14   Sineneng-Smith, __U.S.__, 140 S.Ct. 1575, 1579 (2020).
15         (ii)      The City will suffer irreparable harm without a Stay
16         The Order imposes serious burdens on the City that will cause the City irreparable
17   harm if not stayed immediately. For example, the Order requires the City to escrow one
18   billion dollars “forthwith.” But this Order means that $1 billion dollars of taxpayer
19   money—roughly one seventh of the City’s entire general fund budget that the Mayor
20   proposed for the next fiscal year—cannot be used for City functions, including
21   addressing homelessness, until some unknown date in the future when it is released
22   under unknown criteria, which would impose serious and irreparable damage to the City.
23   Similarly, the Order prohibits transfers of all City land going forward; yet such a
24   stoppage may increase the lack of housing for the homeless, thus defeating the very
25   purpose of the Order. Even with the court’s post-hoc clarification that this part of the
26   Order does not apply to projects in progress, it will still have a monumental impact on
27   available housing.
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 1           These two factors (likelihood of success or serious legal questions, and irreparable
 2   harm) are the two most significant factors in determining whether to impose a Stay. But
 3   the remaining factors also favor a Stay.
 4           (iii)   The balance of equities and public interest favor a Stay
 5           While the City recognizes the urgent and compelling nature of the homelessness
 6   crisis, the equities here weigh heavily in favor of a Stay. The court’s mandatory
 7   injunction, rather than preserving the status quo pending litigation, commands the City
 8   to follow the court’s direction in the management of its municipal affairs. The Order
 9   addresses harms not complained of in the Complaint—those of the business owner
10   Plaintiffs who are troubled by homeless people in their area—and does so in ways that
11   were even opposed by the public interest advocates whom this court allowed to
12   intervene to give voice to the homeless people who are not parties to, but will be
13   affected by, this litigation.
14           In sum, every factor weighs heavily in favor of a Stay, and a Stay should be
15   granted pending appeal of the Preliminary Injunction.
16   II.     SUMMARY OF LITIGATION
17           A.      Plaintiffs’ Complaint
18           On March 10, 2020, Plaintiffs initiated this lawsuit against the City and County
19   premised on generalized grievances about the effects of homeless encampments on
20   downtown business owners and residents, and their disapproval of the manner in which
21   the Defendants allocate their resources to address the homelessness crisis.
22           Plaintiffs’ Complaint acknowledges that the City has expended great efforts,
23   money, and resources to address the homelessness crisis. See., e.g., Dkt. 1, Compl., ¶ 74
24   (“Plaintiffs do not suggest the City and County are doing nothing; the amount of effort
25   and resources that have been devoted to addressing this issue is considerable and
26   admirable.”). Yet, the Complaint nonetheless asserts fourteen claims, all but one of
27   which (the claim for violation of a mandatory duty pursuant to California Welfare and
28   Institutions Code section 17000) are asserted against the City.


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 1         B.     The case was stayed from March 19, 2020 to April 13, 2021
 2         On March 17 and 18, 2020, the court allowed homeless rights advocates Orange
 3   County Catholic Worker, CANGRESS dba Los Angeles Community Action Network,
 4   and Los Angeles Catholic Worker (collectively, “Intervenors”) to intervene in this
 5   action. Dkt. 18, 29.
 6         Just nine days after the complaint was filed, the court held an emergency status
 7   conference1 on March 19, 2020, which the Mayor, the President of the City Council, the
 8   City Attorney, and other City officials all attended because the City agreed the parties
 9   had a unique opportunity to address the homelessness crisis, despite the legal and factual
10   deficiencies of Plaintiffs’ Complaint. The parties agreed to stay all proceedings and
11   engage in mediation. See e.g. Transcript of 3/19/20 Conference, Dkts. 39, 90.
12         While the stay was in effect, in May 2020, the court sua sponte issued a
13   preliminary injunction that “individuals experiencing homelessness camped within 500
14   feet of an overpass, underpass, or ramp must be offered housing…and subsequently
15   humanely relocated at least 500 feet away from such areas by no later than September 1,
16   2020.” Dkt. 123 at 10. The court vacated the injunction after the City and County
17   reached their historic agreement by which the City agreed to create 6,700 beds by
18   December 2021, memorialized in a Memorandum of Understanding (“MOU”). Dkt.
19   185-1. The City has since exceeded its first set of obligations under the MOU,
20   developing 5,467 new shelter solutions (more than the agreed-upon 5,300 beds) and 728
21   interventions pursuant to existing agreements with the County (more than the agreed-
22   upon 700 beds), for a total 6,195 beds by the April 16, 2021, deadline. Dkt. 267-1.
23         The stay was not lifted until April 13, 2021, in response to Plaintiffs’ motion for
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     1 Although the court convened multiple conferences during the stay to address issues
26   such as the status of shelter interventions being created by the City, all were held prior to
27   the Plaintiffs’ filing of their motion for preliminary injunction (Dkt. 265), and none were
     evidentiary hearings with testimony from witnesses subject to direct or cross-
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     examination. See Dkt. 39, 90, 92, 94, 110, 112, 117, 162, 165, 181, 201, 218.


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 1   preliminary injunction, filed on April 12, 2021, and the County’s motion for dismiss,
 2   filed on March 29, 2021. Dkt. 266. Notably, the City has not yet filed a response to the
 3   Complaint, and no discovery has commenced.
 4         C.     Plaintiffs’ Preliminary Injunction Motion
 5         On April 12, 2021, Plaintiffs filed their motion for a preliminary injunction, which
 6   asked the court effectively to become the local homelessness authority and compel the
 7   City to take no less than 10 sweeping and affirmative steps, including to (1) provide
 8   shelter to every Angeleno in Skid Row within the next 90-180 days, 50% of which
 9   housing must be provided outside Skid Row; (2) reallocate 20 acres of City-owned land
10   to be used for housing or provide the land to private developers at a nominal price and
11   pursuant to a variety of terms dictated by Plaintiffs; and (3) enforce laws to clear – and
12   keep clear – sidewalks, public streets, and public places without regard to any individual
13   discretion. Dkt. 265 & 265-3.
14         Plaintiffs sought a preliminary injunctive against the City based on three theories.2
15   The first theory was based on only two constitutional violations—the state-created
16   danger doctrine (Dkt. 265 at 28:28-29:2) and procedural due process for “taking
17   Plaintiffs’ property values without giving notice and an opportunity to be heard (Dkt.
18   265, at 29:21-24 and 30:6-19). While Plaintiffs dedicated a large portion of their brief to
19   allegations that a since-rejected containment policy and systemic racism having
20   contributed to the conditions on Skid Row, Plaintiffs did not actually move for relief
21   under any Equal Protection theory. Notably, Plaintiffs’ motion did not present any
22   argument the City created a special relationship with the homeless community; that the
23   City’s alleged severe inaction was actually state action in violation of the Equal
24   Protection clause; or that the City violated unhoused black families’ fundamental right to
25   family integrity in a way akin to the substantive due process violations of children
26
27   2
      Plaintiffs moved on a fourth theory only against the County, their Second Claim for
     violation of mandatory duty under Welfare and Institutions Code § 17000. Dkt. 265 at
28
     pp. 25-33.


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 1   separated from their parents at the U.S.-Mexico border.
 2            Plaintiffs’ second theory for preliminary injunctive relief was that Plaintiffs were
 3   likely to succeed on their ADA-related claims because the City’s sidewalks in Skid Row
 4   are obstructed by homeless encampments in violation of the ADA. Dkt. 265 at 34:13-
 5   14. Finally, Plaintiffs moved for preliminary injunctive relief based on state law private
 6   and public nuisance claims (Id. at 30:20-33:10), which the court did not address in its
 7   Order.
 8            On April 13, 2021, the court issued an order lifting the litigation stay, ordering the
 9   City and County to file oppositions by April 19, 2021, and noting that “[n]o reply will be
10   required from Plaintiffs.” Dkt. 266. On April 19, 2021, the City, the County, and the
11   Intervenors all filed oppositions to Plaintiffs’ preliminary injunction motion. See Dkts.
12   269-271, 273-275.
13            Less than 24 hours after the oppositions were filed, and without a hearing, the
14   court issued its preliminary injunction order. Dkt. 277. This mandatory injunction
15   requires the City to take a dozen affirmative and onerous steps in the next 180 days (with
16   many obligations beginning immediately), many of which were not requested by
17   Plaintiffs:
18        1) Place $1 billion in escrow forthwith;
19        2) Have two meetings with the court’s unilaterally appointed Special
20            Monitor/Master, the first of which must occur within 3 days to agree upon
21            reasonable compensation, and the second of which must occur within 10 days to
22            receive Special Monitor/Master Martinez’ input regarding independent auditors
23            and investigators;
24        3) Cease sales and transfers of “the over 14,000 City properties”3 pending a court-
25            ordered report by the City Controller.
26
27
28   3
         There is no evidence in the record that there are 14,000 City properties.


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 1      4) By 8:00 a.m. on April 27, 2021, the Mayor and City Council must submit a report
 2         to the court to explain why an emergency declaration has not been issued;
 3      5) Within 30 days, the City Controller shall oversee the creation of a report on all
 4         land potentially available within each Council District for housing and sheltering
 5         persons experiencing homelessness;
 6      6) Within 30 days, the City’s Homelessness and Poverty Committee must report to
 7         the court specific actions to address: (1) structural barriers that cause a
 8         disproportionate number of people of color to experience homelessness or housing
 9         insecurity; (2) solutions to the problem of extremely low income individuals being
10         foreclosed from the affordable housing market in favor of higher-income
11         individuals; and (3) the possibility of rezoning to accommodate more R3 (multi-
12         family) zoning;
13      7) Within 30 days, the City and County shall prepare a report on the status of
14         Projects Homekey and Roomkey, with a specific focus on the geographic and
15         racial distribution of project sites and beneficiaries;
16      8) Within 90 days, offer, and if accepted provide, shelter or housing to all
17         unaccompanied women and children living in Skid Row (meaning the area
18         between 2nd to 8th and Spring to Alameda);
19      9) Within 90 days: (1) conduct an audit of all funds received from local, state, and
20         federal entities intended to aid the City in solving or alleviating the problem of
21         homelessness; and (2) conduct investigations and report on all developers
22         currently receiving funds from Proposition HHH, and propose revised procedures
23         for evaluating future applicants for Proposition HHH funds that would limit the
24         possibility of funds being misused or wasted;
25      10) Within 120 days offer, and if accepted provide, shelter or housing to all families
26          living in Skid Row;
27      11) Within 180 days offer, and if accepted provide, shelter or housing to the general
28          population living in Skid Row; and


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 1      12) Prepare a plan that ensures the uplifting and enhancement of Skid Row without
 2          involuntarily displacing current residents to other parts of the City or County.
 3          Two days later, on April 22, 2021, the court clarified the Order as follows: “First
 4   the directives under “Accountability” and “City- and County- Wide Actions” pertains to
 5   all districts in the City and County and are not limited in any way to Skid Row. Second,
 6   the provision regarding the cessation of sales and transfers by lease or covenant under
 7   Section 2(a)(ii) does not apply to projects in progress as of the date of the order, April
 8   20, 2021.” Dkt. 279.
 9   III.   STANDARD OF REVIEW TO ISSUE STAY PENDING APPEAL
10          Supreme Court precedent has “distilled” the legal principles for issuing stays
11   pending appeal into consideration of four factors: (1) whether the stay applicant has
12   made a strong showing of likelihood of success on the merits; (2) whether the applicant
13   will be irreparably injured absent a stay; (3) whether issuance of the stay will
14   substantially injure the other parties interested in the proceeding; and (4) where the
15   public interest lies. Nken v. Holder, 556 U.S. at 434 (quoting Hilton v. Braunskill, 481
16   U.S. 770, 776, (1987)). “The first two factors of the traditional standard are the most
17   critical.” Id. In applying these factors, the Ninth Circuit employs a “sliding scale”
18   approach. The factors are balanced such that a stronger showing of one element may
19   offset a weaker showing of another. Leiva-Perez v. Holder, 640 F.3d 962, 964-66 (9th
20   Cir. 2011). In other words, “the required degree of irreparable harm increases as the
21   probability of success decreases.” Nat. Res. Def. Council, Inc. v. Winter, 502 F.3d 859,
22   862 (9th Cir. 2007). See Al Otro Lado v. Wolf, 952 F.3d 999, 1007 (9th Cir. 2020) (“We
23   first consider the government’s showing on irreparable harm, then discuss the likelihood
24   of success on the merits under the sliding scale approach”).
25   IV.    THE COURT SHOULD ISSUE A STAY BECAUSE THERE WAS A
26          LACK OF NOTICE OF THE BASIS FOR THE INJUNCTION
27          While the law is clear that any ordered relief must bear a relationship to the issues
28   raised by the pleadings, the differences among the causes of action asserted by the


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 1   Plaintiffs in their Complaint, the relief sought in their motion for preliminary injunction,
 2   and the injunctive relief this court ordered are stark.
 3         In this case, the court issued injunctive relief to address issues it states implicate
 4   equal protection and due process concerns that were not pled in the Complaint nor raised
 5   in the motion for preliminary injunction. Similarly the Order requires the City to escrow
 6   one-seventh of its proposed budget and cease all land transfers, yet the City was never
 7   notified that such an Order was even contemplated; nowhere did Plaintiffs ask for $1
 8   billion to be placed in escrow, or to cease all sales and transfers of City properties. Thus
 9   the City did not have notice or opportunity to respond to the ordered relief. Before a
10   preliminary injunction may issue, the adverse party must receive notice. Fed. R. Civ. P.
11   65(a). “The purpose of this requirement is to give the opposing party a fair opportunity
12   to oppose the motion for a preliminary injunction, and the court must allow that party
13   sufficient time to marshal his evidence and present his arguments against the issuance of
14   the injunction. Even if labeled merely a ‘preservation order,’ an order requiring a party,
15   during the pendency of the litigation, to ‘hold and retain’ assets within his control is an
16   injunction implicating due process concerns. Such an order cannot properly be entered
17   without notice.” Weitzman v. Stein, 897 F.2d 653, 657 (internal citations and quotations
18   omitted).
19         In addition, “[a] court’s equitable power lies only over the merits of the case or
20   controversy before it. When a plaintiff seeks injunctive relief based on claims not pled
21   in the compliant, the court does not have the authority to issue an injunction.” Pacific
22   Radiation Oncology, LLC v. Queen’s Medical Center, 810 F.3d 631, 633, 636 (9th Cir.
23   2015).
24         In addition to the defects inherent in the extraordinary and sweeping nature of the
25   injunction, the court should stay its order pending Ninth Circuit review because there is
26   not a sufficient nexus between the order for injunctive relief and the allegations in the
27   complaint. See, e.g., Penthouse International, Ltd. v. Barnes, 792 F.2d 943 (9th Cir.
28   1986) (district court abused its discretion ordering a remedy that was outside the scope


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 1   of the trial on the merits); Thomas v. County of Los Angeles, 978 F.2d 504, 508 (9th Cir.
 2   1992) (“When the district court imposes a preliminary injunction on a state agency, a
 3   strong factual record is necessary; our review of the injunction must be more rigorous
 4   when we review an injunction again a state as opposed to a federal agency, since the
 5   Supreme Court requires a showing of an intentional and pervasive pattern of misconduct
 6   in order to enjoin a state agency.”) (citing Rizzo v. Goode, 423 U.S. 362, 375).
 7         In support of its claim that it has the power to order equitable relief on its own
 8   motion, the court cites Brown v, Plata, 563 U.S. 493. Dkt. 277, p. 97. However, the
 9   facts and procedural posture of that case are readily distinguishable. In Brown, the court
10   ordered the State of California to relieve overcrowding in the prison system only after
11   the parties had litigated the issue for many years and come to many prior agreements on
12   how to relieve overcrowding. In addition, the State had begun to implement much of the
13   relief the court ordered and to which the parties previously agreed. Id. at 537-538.
14   Despite holding that the court had the power to fashion appropriate equitable relief, the
15   Brown court noted that “courts should presume that state officials are in a better position
16   to gauge how best to preserve public safety and balance competing correctional and law
17   enforcement concerns. The decision to leave details of implementation to the State’s
18   discretion protected public safety by leaving sensitive policy decisions to responsible
19   and competent state officials.” Id. at 538.
20         Armstrong v. Brown, 768 F.3d 975, is also inapposite. In that case, the plaintiff
21   prisoners sought disability accommodations under the ADA. The State filed a remedial
22   plan for compliance and the court entered a permanent injunction based on the State’s
23   remedial plan. Many years later, because the State was still out of compliance, the court
24   modified the injunction. The Ninth Circuit rejected the State’s claim that it did not have
25   notice or opportunity to be heard because the (1) court gave oral notice of its intent to
26   modify the injunction, (2) the court invited oral argument at the hearing, and (3) the
27   court gave the parties an opportunity to file a written brief on the issue, which the court
28   considered before ruling. Id. at 980. By stark contrast, here the court went well beyond


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 1   the scope of the claims, arguments, and relief sought by the Plaintiffs, providing no
 2   notice to the City of its intent to do so, or any pre-Order opportunity for the City to
 3   respond.
 4   V.      STAY IS APPROPRIATE BECAUSE THE CITY WILL LIKELY
 5           PREVAIL IN ITS APPEAL
 6          A.    The City is likely to prevail on appeal of novel theories of law to which
 7                it never had an opportunity to respond
 8          The court issued the injunction based on three never-before-asserted claims of
 9   constitutional violations: a “special relationship exception” violation of Fourteenth
10   Amendment Due Process; a “severe inaction theory” under the Equal Protection Clause;
11   and the fundamental and Substantive Due Process right to family integrity. Dkt. 277,
12   75-86. The City had no opportunity to address these new theories of constitutional law
13   devised by the court and applied sua sponte in its preliminary injunction order. It is
14   difficult to imagine how Plaintiffs, as the party seeking the mandatory injunction, could
15   have established “that the law and facts clearly favor” their position—as was their
16   burden—when they didn’t even advance three of the novel legal theories on which the
17   court relied to grant the injunction. Garcia v. Google, Inc., 786 F.3d 733, 740 (9th Cir.
18   2015) (en banc).
19          More to the point, none of those three theories is legally tenable: Plaintiffs could
20   not have demonstrated a likelihood of prevailing on any of them had they been required
21   to try, and the City is likely to prevail on the merits of whichever of Plaintiffs’ claims the
22   district court intended to support with those theories. The City is entitled to a stay of the
23   preliminary injunction while it vindicates its position on appeal.
24                1.     No “special relationship” between or among anyone identified
25                       here gives rise to an affirmative right to aid
26          “The Fourteenth Amendment’s Due Process Clause generally does not confer any
27   affirmative right to governmental aid, even where such aid may be necessary to secure
28   life, liberty, or property interests.” Patel v. Kent Sch. Dist., 648 F.3d 965, 971 (9th Cir.


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 1   2011). An exception to the rule exists “when a state ‘takes a person into its custody and
 2   holds him there against his will,’” by “‘incarceration, institutionalization, or other
 3   similar restraint of personal liberty.’” Id. at 972 (quoting DeShaney v. Winnebago Cnty.
 4   Dep’t of Soc. Servs., 489 U.S. 189, 199–200 (1989)). This court held that Los Angeles
 5   has a “lengthy history of discriminatory policies, aimed at containing homeless people in
 6   Skid Row,” which “restrains the personal liberty of L.A.’s homeless population to such
 7   an extent” as to trigger an affirmative duty on the City to act under the Fourteenth
 8   Amendment. Dkt. 277 at 76. Putting aside the extremely serious question why
 9   Plaintiffs would be entitled to an injunction imposing an affirmative duty on the City on
10   behalf of third-party “homeless people in Skid Row” they do not represent, the case
11   cited by the court shows plainly that no such affirmative duty exists here.
12         In Patel, a developmentally disabled student who was supposed to be supervised
13   at all times by her teacher was instead allowed to go to the bathroom on her own. 648
14   F.3d at 969. As a result of her teacher’s lapse in attention, the student had sex with
15   another student in the bathroom. Id. at 969–70. The student’s mother sued the school
16   district for violating a putative Fourteenth Amendment affirmative duty to her daughter.
17   Id. at 971. In affirming summary judgment against the mother, the Ninth Circuit held
18   that there was no special relationship even though the child was legally compelled to go
19   to school and the school acted in loco parentis under state law while the child was there.
20   Id. at 972–73.
21         Here, Plaintiffs did not argue, nor did the court find, that the City legally compels
22   homeless people to go to, and stay in, Skid Row, or that the City acts with the authority
23   of a parent vis-à-vis people experiencing homelessness. Whatever duty the court would
24   force the City to undertake on their behalf, it is difficult to conceive that the court
25   intends to hold that the City in the position to restrict the autonomy of a homeless person
26   as if it were their parent—let alone their jailor, which may actually support a special
27   relationship duty. But that is precisely the conclusion that applying a special-
28   relationship theory here would dictate. DeShaney, 489 U.S. at 200.


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 1                2.     No law supports the theory that alleged “severe inaction” equals
 2                       state action that violate equal protection
 3         Next, the court opines that “a textualist reading” of the Fourteenth Amendment’s
 4   Equal Protection Clause supports the notion that the City has an affirmative duty to act.
 5   Dkt. 277 at 77. The court parses the Amendment’s text this way: the “the double
 6   negative implication of ‘not deny’ can literally be interpreted to mean ‘to provide,’”
 7   thereby requiring a government to act. Dkt. 277 at 77. The only authority offered to
 8   support this interpretation is a law review article.
 9         Imputing the sweeping affirmative obligations of its Order to the City based on
10   this unprecedented constitutional theory not only has the ironic impact of denying the
11   City due process—since the theory was raised for the first time in this litigation in the
12   Order itself—but it sweeps far too broadly. Courts are supposed to be circumspect in
13   creating new constitutional rights. Michael H. v. Gerald D., 491 U.S. 110, 123 (1989).
14                3.     The City has not interfered with any “familial relationship”
15                       between or among anyone in this litigation
16         The last of the legal theories that the court generated and applied of its own
17   initiative is that “conduct attributed to the City and County violates unhoused families’
18   substantive due process right to family integrity.” Dkt. 277, 80. Here, there is little need
19   to move beyond the most obvious reason that this theory fails: absolutely nothing
20   explains how Plaintiffs have standing to sue over—and get an injunction to remedy—
21   violations of hypothetical third parties’ family integrity. See Steel Co. v. Citizens for a
22   Better Env’t, 523 U.S. 83, 101–102 (1998) (a failure to demonstrate standing is fatal; a
23   court should go no further). The cases the court identifies as “comparable”—Quilloin v.
24   Walcott, 434 U.S. 246 (1978), Jacinto-Castanon de Nolasco v. U.S. Immigration &
25   Customs Enforcement, 319 F. Supp. 3d 491 (D.D.C. 2018), and L. v. U.S. Immigration &
26   Customs Enforcement, 302 F. Supp. 3d 1149 (S.D. Cal. 2018)—are therefore not
27   comparable in at least one dispositive respect. Each of them was brought by the people
28   whose family integrity allegedly was disrupted by a government action. Not so here.


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 1   And that is enough to dispose of the theory entirely.
 2         Even if that were not enough, the court did not cite any evidence that the City took
 3   any affirmative action that violated family integrity. Rather, it relies on references
 4   asserting that African Americans are overrepresented in both people experiencing
 5   homelessness in Los Angeles and in children in the County’s foster care system—
 6   without explaining if or how one thing can or does lead to the other, and, even if they
 7   did, how the City is responsible for it such that the City must be compelled to remedy it
 8   in the manner of the court’s choosing. Dkt. 277 at 84-85.
 9         B.     The City is likely to prevail in its appeal because there is no equal
10                protection claim based on race to support the order
11         The Plaintiffs do not allege an Equal Protection claim in their complaint, nor did
12   they rely on a racial Equal Protection claim in their motion for preliminary injunction.
13   The NAACP submitted an Amicus Brief in which it argued that the City was responsible
14   to remedy homelessness, which it asserted was the result of racism. Although the law is
15   well settled that a court’s decision must be limited to the arguments made by the parties,
16   not Amici (United States v. Sineneng-Smith, __U.S.__, 140 S.Ct. 1575, 1579 (2020)),
17   this court adopted the NAACP’s arguments wholesale, and found that the “historical
18   constitutional violations” allowed this court to issue “an affirmative injunction ordering
19   the City and County to actively remedy its homelessness crisis.” Dkt. 277 p. 72. The
20   City is likely to prevail in its appeal from the injunction on this basis.
21         Neither the NAACP nor this court identify a specific constitutional violation
22   committed by the City to be remedied. Any use of equitable power must flow from, and
23   be tailored to, a specific constitutional violation, not merely a desire to “disrupt the
24   status quo.” Dkt. 264, pp. 8-10. See, e.g., Gill v. Whitford, 138 S. Ct. 1916, 1929 (2018)
25   (“Failure of political will does not justify unconstitutional remedies.”) (citation omitted);
26   Rufo v. Inmates of Suffolk County Jail, 502 U.S. 367, 389 (1992) (“Federal courts may
27   not order States or local governments . . . to undertake a course of conduct not tailored to
28   curing a constitutional violation that has been adjudicated.”)


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 1         And disparate impact, while a serious concern that must be addressed, is generally
 2   insufficient by itself to form the basis of a constitutional violation–especially where, as
 3   here, nothing in the record indicates ongoing, intentional, invidious discrimination
 4   targeting people experiencing homelessness based on race or other protected
 5   characteristics. See, e.g., Hispanic Taco Vendors v. Pasco, 994 F.2d 676, 680 (9th Cir.
 6   1993) (“Here, however, the disproportionate impact of this ordinance does not approach
 7   the level of discrimination in cases where the Supreme Court has invalidated laws solely
 8   because of their impact.”)
 9         Both the statute and the cases cited by the NAACP and this court identified a
10   specific, affirmative action by the governmental agency defendant that had a disparate
11   impact among an identified racial group, thus triggering protection under Title VI;
12   nothing of the sort has transpired here. Indeed, this court primarily cites to Brown v.
13   Board of Education of Topeka, Shawnee Cty., Kan., 347 U.S. 483 (1954) and Swann v.
14   Charlotte-Mecklenburg Board of Education, 402 U.S. 1 (1971), cases involving the
15   purposeful exclusion of African-American children from schools attended by white
16   children, and nothing of the sort has been litigated – much less addressed with any
17   evidence or argument – in this case. Thus, as is true with the rest of the injunction, the
18   record does not support the court’s sweeping conclusions on this point.
19         C.     The City is likely to prevail on the “state-created danger” claim
20                because this exception does not apply here
21         Plaintiffs are business owners who argue that they have been harmed by the
22   homeless individuals that live near their businesses, which they label a “state-created
23   danger.” This court’s Order finds that homelessness is indeed the result of a state-
24   created danger, although it reaches back into historical events from the turn of the
25   century as its premise for this supposed danger. The City has yet to answer the
26   complaint. Even so, both the Plaintiffs and this court are wrong.
27         The “state-created danger” doctrine is a limited deviation from the well-
28   established rule that a public entity’s failure to protect a plaintiff against bodily harm


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 1   inflicted by third-parties generally does not violate the guarantee of due process. See
 2   Cobine v. City of Eureka, 250 F. Supp. 3d 423, 432-33 (N.D. Cal. 2017) (dismissing
 3   state-created danger claim where plaintiffs’ allegations “[did] not confirm that the state
 4   action was the impetus that put Plaintiffs in an inherently dangerous situation.”). This
 5   exception applies only where: (1) “there is ‘affirmative conduct on the part of the state in
 6   placing the plaintiff in danger’” and (2) “the state acts with ‘deliberate indifference’ to a
 7   ‘known or obvious danger.’” See Patel, 648 F.3d at 974.
 8         First, the court premises its Order on a finding that people experiencing homeless
 9   have been placed in danger, not the Plaintiffs. Second, while Plaintiffs never allege, nor
10   do they present any evidence, that the City ever took any affirmative action that
11   restrained Plaintiffs’ freedom to act on their own behalf by specifically directing the
12   individual into a dangerous situation and eliminating other options by which the
13   individual could have avoided that danger. See Hernandez v. City of San Jose, 897 F.3d
14   1125 (9th Cir. 2018); Munger v. City of Glasgow Police Dept., 227 F.3d 1082 (9th Cir.
15   2000). Third, there is no evidence or finding that the City acted with deliberate
16   indifference towards the Plaintiffs sufficient to meet the stringent standard necessary for
17   the state-created danger doctrine to apply.
18         Indeed, Plaintiffs themselves admit that the City has expended great efforts,
19   money, and resources to address the homelessness crisis. See Dkt. 1, ¶ 2 (“The City and
20   County combined spend over a billion dollars annually providing police, emergency, and
21   support services to those living on the streets.”); ¶ 18 (“Officials in both the County and
22   City have gone to great lengths in the last couple years to address this crisis, and their
23   efforts are impressive and commendable”), ¶ 74.
24         D.     The City is likely to prevail on the ADA claims
25         The court incorrectly found that Plaintiffs were likely to succeed on their ADA
26   claim because “[h]undreds of city sidewalks, not only in Skid Row but across the City
27   and County of Los Angeles, fail to meet the minimum requirements of the ADA due to
28   the creation of homeless encampments” which the court characterizes as “the outcome of


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 1   decades of active policy choices and deliberate indifference on the part of the City and
 2   County.” Dkt. 265 at 91. But Plaintiffs did not and cannot establish the City
 3   discriminated against anyone solely by reason of their disabilities (42 U.S.C. § 12132;
 4   Weinreich v. Los Angeles Cnty. Metro. Transp. Auth., 114 F.3d 976, 978-79 (9th Cir.
 5   1997)), that the City’s sidewalks are unpassable when viewed in their entirety (28 C.F.R.
 6   25.150(a); Blackwell v. City & Cty. of San Francisco, 506 Fed. Appx. 585, 586 (9th Cir.
 7   2013)), or that homeless people and their property are fixed architectural barriers creating
 8   accessibility violations that the ADA was intended to address. See Montoya v. City of San
 9   Diego, 2021 U.S. Dist. LEXIS 52340, at *24 (S.D. Cal. Mar. 19, 2021).
10         E.     The City is likely to prevail on the State law claim
11         Cal. Wel. & Inst. Code § 17000 applies to (1) all counties and (2) the only “city and
12   county” in the State: San Francisco. Hunt v. Superior Court, 987 P.2d 705
13   (Cal. 1999); Tobe v. City of Santa Ana, 892 P.2d 1145 (Cal. 1995). Section 17000
14   imposes no obligation on the City, as a matter of law.
15         Plaintiffs did not move for injunctive relief on their Section 17000 claim against
16   the City. Dkt. 265 at pp. 25-33. However, the court found the Plaintiffs likely to succeed
17   on a never-asserted claim the City violated Section 17000 because “the court finds that
18   the most reasonable interpretation of § 17000 . . . is that it applies not only to counties
19   alone, but to cities and counties when they undertake a joint venture directed to the goals
20   of § 17000, such as a coordinated effort to alleviate homelessness in their jurisdictions.”
21   Dkt. 277, p, 90. The court thus reinterpreted Section 17000 contrary to its plain terms.
22   The power to amend a statute lays with the Legislature, not the courts. Section 17000
23   provides no basis for injunctive relief against the City.
24         F.     The City is likely to prevail because the factual record relied upon by
25                the court cannot support the injunction
26         The court could not have concluded that the Plaintiffs were likely to succeed on the
27   merits of their claims based on the factual “record” set forth in the Order. Oddly, the
28   court did not rely upon or cite to any of the evidence submitted by Plaintiffs in


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 1   declarations in support of their motion, nor could it, as the Plaintiffs presented no
 2   evidence of the harm that the court sought to remedy—the plight of people experiencing
 3   homelessness, particularly people of color. Dkt. 277, p 66, n. 411. Instead, the court
 4   found its own “evidence” to support the preliminary injunction, primarily two reports
 5   issued by LAHSA (n.4) and the UCLA Luskin Center (n. 10), which were never
 6   submitted as evidence by any party, and were never subjected to any review, comment,
 7   criticism, or examination in this case.
 8         These reports, moreover, do not demonstrate any harm to the Plaintiffs, as
 9   Plaintiffs do not allege that they are persons of color who are experiencing homelessness.
10   These reports do state that homelessness is multi-faceted problem with several causes—
11   and that one cannot separate out any one possible cause from another, and certainly
12   cannot single out one actor—the City—as its sole cause. Dkt. 277, p. 18 (“The 2018
13   LAHSA report concluded that ‘racial bias [continues to] affect every aspect of a Black
14   person’s life, and it is impossible to untangle the pervasive effects of institutional racism
15   from other system failures that together cause a person to experience homelessness.’”)
16   (emphasis added).
17         To the extent these reports found fault among many actors, the court improperly
18   ascribed all fault to the City (and County). For example, the court found that but for the
19   City’s and County’s discriminatory actions like redlining, there would be less
20   homelessness among black Angelenos. Dkt. 277, 72-73. While the federal policy of
21   redlining was certainly harmful (Id. at 6-7), no evidence was presented that the City or
22   County played any role in redlining or was a “but for” cause of homelessness.
23         The remaining citations in the Order, many to newspaper articles and op-eds, are
24   riddled with unsubstantiated allegations and opinions. See, e.g., Dkt. 277, p. 10 n. 52-58
25   (citing a 2020 opinion piece in the LA Times); p. 12, n. 69 (2017 op-ed from LA Times);
26   p. 27, n. 178-181 (a statement from the Times Editorial Board); p. 38, n. 232, 235 (citing
27   a different statement from the Times Editorial Board). Worse, many of these alleged
28   citations do not support the statements in the Order to which they refer, undermining the


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 1   court’s conclusion that these “facts” demonstrate that the Plaintiffs are likely to succeed
 2   on the merits of their claims.
 3         For example, the court says the City used eminent domain to seize 6,000 houses to
 4   build a freeway. Dkt. 277, p. 11. The cited source, however, makes clear that the State,
 5   not the City, seized those houses. Id. at n. 63. Regardless, the court goes on to cite the
 6   City’s use of eminent domain to justify the injunction against the City. Dkt. 277, p. 2.
 7   Again, this sweeping conclusion is not based on any litigation or evidence properly before
 8   the court.
 9         G.     Alternatively, this appeal raises significant legal issues that warrant a
10                stay of this Order.
11         A stay is also appropriate where, as here, the case involves “serious legal
12   questions.” FTC v. Qualcomm Inc., 935 F3d 752, 755 (9th Cir. 2019) (per
13   curiam); Alliance for Wild Rockies v. Cottrell, 632 F3d 1127, 1131-34 (9th Cir. 2010).
14   The court’s Order implicates a serious legal issue—nothing less than the proper role of
15   federal courts in litigation. In Sineneng-Smith, the court held that the Ninth Circuit had
16   overstepped its role as neutral arbiter when it ignored the arguments made by a criminal
17   defendant who was “represented by competent counsel,” and instead invited three amici
18   to brief issues that had not been raised by the parties, and proceeded to issue a decision
19   based on an issue raised by amici, not the parties. 140 S. Ct. at 1580. The Supreme Court
20   reversed the Circuit’s “takeover” of the appeal, explaining that courts should be “passive
21   instruments of government” that do not “look[] for wrongs to right” but instead “wait for
22   cases to come to [them], and when [cases arise] normally decide only questions presented
23   by the parties.” Id.
24   VI.    THE CITY WILL SUSTAIN IRREPARABLE HARM WITHOUT A STAY
25         In addition to showing a likelihood of success a petitioner seeking a stay pending
26   appeal must show “that irreparable injury is likely in the absence of an injunction.”
27   Winter v. Natural Res. Def. Council, Inc., 555 U.S. 7, 129 S. Ct. 365, 375, (2008)
28   (citations omitted). The irreparable harm must be likely to occur during the period before


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 1   the appeal is decided. Leiva-Perez, 640 F.3d at 968; FTC v. Qualcomm Inc., 935 F3d 752,
 2   756 (9th Cir. 2019) (movant demonstrates probability of irreparable harm where
 3   injunction imposes fundamental business changes.)
 4          Here, the City will be irreparably harmed if the Order is not stayed pending the
 5   outcome of the appeal. Among other things, the City cannot comply with the Order
 6   requiring $1 billion be placed in escrow “forthwith” because the vast majority of the $1
 7   billion is (a) not currently in the City’s possession and (b) comes from sources that have
 8   specific restrictions and limitations on how the money can be spent. Declaration of
 9   Richard H. Llewellyn, Jr., ¶¶ 9-16. Thus, the City does not have $1 billion to place into
10   an escrow account, and even if it did, the City could not do so without being in violation
11   of the specific restrictions imposed on the City for the funds’ use.
12          Furthermore, the Preliminary Injunction imposes multiple obligations on the City
13   in incredibly short and unrealistic timeframes all of which are imminent. Most notably,
14   the City (along with the County) are ordered to create shelter and housing beds in 90
15   days for all unaccompanied women and children living in Skid Row, 120 days for all
16   families living in Skid Row, and 180 days for the general population living in Skid Row.
17   Dkt. 277, p. 109. Accordingly, if the stay is not granted, the City will be forced to
18   somehow site and fund thousands of new shelter beds or housing solutions, and
19   potentially displace persons or otherwise move them against their best interests (as noted
20   by the Intervenors in their Opposition to Plaintiffs’ Motion for Preliminary Injunction
21   and the supporting documents thereto). Dkt. 275 and 276. City properties, money, and
22   other resources will further be tied-up and not available for other pressing City needs if
23   the stay is not granted, resulting in the City suffering irreparable harm.
24   VII.   THE BALANCE OF HARDSHIPS AND PUBLIC INTEREST STRONGLY
25          FAVOR A STAY
26          Although the likelihood of success on the merits and the irreparable harm that will
27   be suffered by the moving party in the absence of a stay are the key inquiries in
28   determining whether to issue a stay, a court will also consider “whether issuance of the


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 1   stay will substantially injure the other parties interested in the proceeding” and where the
 2   public interest lies. See City & County of San Francisco v. United States Citizenship &
 3   Immigration Servs., 944 F.3d 773, 789 (9th Cir. 2019); see also Trump v. Int’l Refugee
 4   Assistance Project, 137 S. Ct. 2080, 2087 (2017) (“Before issuing a stay, ‘[i]t is
 5   ultimately necessary…to balance the equities–to explore the relative harms to applicant
 6   and respondent, as well as the interests of the public at large.”). Here, these factors
 7   weigh strongly in favor of a stay of the Order.
 8         Notably, the preliminary injunction requested by the Plaintiffs was opposed not
 9   only by the City and County, but also by the Intervenors, who were permitted to
10   intervene to voice the interests of unhoused people. Dkt. 18, 29 (orders granting
11   applications to intervene), 275 (Intervenors’ Opposition to Plaintiffs’ Motion for
12   Preliminary Injunction). In their opposition to Plaintiffs’ motion, the Intervenors argued
13   that “such a wide-reaching order would not serve the public interest; in fact, just the
14   opposite.” Dkt. 275 at 12:25-13:5. Like the City and County, the Intervenors argued
15   that “Plaintiffs fail[ed] to put forth any argument, let alone evidence to meet its burden
16   of showing that such a dramatic encroachment into the provenance of the City and the
17   County is warranted, let alone why such a broad injunction is in the public interest.”
18   Dkt. 275 at 12:19-22. Intervenors’ opposition to the injunction – and their non-
19   opposition to the City’s request for a stay of the preliminary injunction pending appeal –
20   is significant and of particular relevance to balancing the hardships that would be faced
21   by parties interested in the proceeding absent a stay.
22         Any possible harm the Plaintiffs could articulate in the event a stay were issued
23   until the appeal can be resolved pales in comparison to the City’s hardship if a stay were
24   not granted, given the mandatory nature of the Order, which drastically alters the status
25   quo and requires the City to take multiple, onerous actions in quick succession. See
26   Azurin v. Von Raab, 792 F.2d 914, 915 (9th Cir. 1986) (granting stay pending appeal to
27   preserve status quo and prevent dissipation of the assets at issue). In the absence of a
28   stay, the hardships faced by the City (and County and Intervenors) will be great,


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 1   especially in light of the City’s strong showing that the Preliminary Injunction was
 2   wrongfully issued – both because the Order far exceeded the court’s authority and
 3   because the court incorrectly found that Plaintiffs are likely to succeed on the merits of
 4   their claims. In contrast, in the event that the Preliminary Injunction Order were
 5   ultimately upheld, the only impact on Plaintiffs if a stay were granted until the City’s
 6   and County’s appeals can be resolved is a delay in enforcement of that Order.
 7         Here, “[t]he issues presented on appeal are substantial and of public importance”
 8   and thus “[t]here is a clear public interest in their proper resolution.” See Azurin v. Von
 9   Raab, 792 F.2d at 915. Indeed, the issues on appeal concern the fundamental limits on a
10   court’s power to usurp discretion vested in local officials to respond to the complicated
11   and multi-faceted regional homelessness crisis.
12   VIII. CONCLUSION
13         For the reasons above, the City requests that the court issue a stay of the
14   preliminary injunction pending appeal. Due to the impending deadlines in the court’s
15   order, the City respectfully requests the court rule on this motion as soon as possible,
16   and no later than April 24, 2021, at which time the City intends to seek a stay from the
17   Ninth Circuit court of Appeals.
18   DATED: April 23, 2021
19
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21                       SCOTT MARCUS, Senior Assistant City Attorney
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